Case 2:16-cr-20439-MFL-DRG ECF No. 12 filed 11/10/16            PageID.56    Page 1 of 3



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN

  UNITED STATES OF AMERICA,          )
                                     )      Case No. 2:16-CR-20439-001
         Plaintiff,                  )
                                     )      HON. MATTHEW F. LEITMAN
  v.                                 )      U.S. DISTRICT JUDGE
                                     )
  CYNTHIA ELIZABETH FLOWERS,         )
                                     )
                       Defendant.    )


        DEFENDANT CYNTHIA FLOWERS’ UNOPPOSED MOTION TO FILE
               SENTENCING MEMORANDUM UNDER SEAL

         Defendant Cynthia Flowers, by and through undersigned counsel, moves this

  Court for leave to submits her Sentencing Memorandum, character letters and

  supporting documents under seal. Defendant’s Sentencing Memorandum, character

  letters, and supporting documents contain confidential and personal information

  regarding Defendant, Defendant’s family, work, and other personal identifying

  information of other persons and entities closely associated with the case. Counsel

  has advised the Government’s Counsel on the motion and relief requested herein;

  Government Counsel does not oppose this motion.

         Accordingly, Defendant asks this Court to GRANT this motion for leave to file

  the Sentencing Memorandum, character letters and supporting documents under

  seal. A proposed Order is submitted along with this motion.
Case 2:16-cr-20439-MFL-DRG ECF No. 12 filed 11/10/16    PageID.57    Page 2 of 3




                                     Respectfully submitted,

                                     /s/ Allison Folmar
                                     ________________________
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  DATED: 11/10/2016
Case 2:16-cr-20439-MFL-DRG ECF No. 12 filed 11/10/16             PageID.58   Page 3 of 3




                                 CERTIFICATE OF SERVICE

         I hereby certify that on November 10, 2016, I electronically Defendant’s

  motion with the Clerk of the Court, using the CM/ECF system, which will send

  notification of such filing to the following:

  Stephen L. Hiyama, Esquire
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                                                  /s/ Allison Folmar
                                                  ________________________
                                                  ALLISON FOLMAR
